Title No Edit 5 ersion / 7.216 Page | of 1
ase cr-00567-HG Document 97-4 Filed 08/30/12 Page 1 of 1 PagelD.1203
\VIN JNIARS4M19M220020 Financed 09/08/2008}Tech ISLE
iStatus Perfected Title DMV Work 09/24/2008
IBorrower HALEAMAU BRANDON C Imported 09/25/2008
Borrower Added 09/10/2008
iHome Phone iPerfected 09/25/2008
Borrower Payoff / Tech
Work Phone __lilReleased /
Loan # Suffix [1 Exported ]
Owner HALEAMAU BRANDON C IDMV Response / / Code
Lienholder AVON STATE FEDERAL CREDIT |llpmvy Deleted /
jExpires /
Dealer ID
License PWP795 Title # [PWP79908 Lien Title
Vehicl Year 2009
lbody ence |VEH Make NISS
Type
: iModel
Financed Loan .
Account Type Vehicle
(Loan) ype
User Notes Present FDI Assigned FDI Action /
User Date
Lienholder Lienholder /
Assigned User Action Date
Misc.
State HI [Electronic

Notes

* SLESCUSA *

- 09/10/2008 03:09:41 PM PDT - RLSD CHK TO DEALER, AWAITING ON TITLE

Record Activity for HAWAII STATE FCU

VTTS - Status changed to PT on 09/25/2008 03:32 AM by FDI
OTTS - System note on 09/10/2008 03:10:02 PM by Stephanie Escusa:
LienHolder Assigned User Changed from BLANK to Stephanie Escusa

LienHolder Action Date Changed from / / to 09/24/2008
OTTS - Status changed to PM on 09/10/2008 15:09:24 by Stephanie Escusa

https://title8.fdielt.com/scripts/foxweb.exe/otts/Title?idcode=0000003B8 &sessid=1

3/8/2010
